       Case 3:02-cr-00095-LC       Document 224      Filed 08/26/08    Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA


v.                                                       CASE NO. 3:02cr95LAC

KELVIN BROOKS

___________________________________________/

                                        ORDER

       Defendant, pursuant to 18 U.S.C. §3582(c)(2), seeks a reduction of imprisonment (doc
217) noting that his applicable guideline range has been subsequently lowered. The Court
agrees in part and reduces defendant’s sentence on Count 3 only to 157 months still to run
concurrent with the sentence of 240 months previously imposed on Count 1. Defendant now
has a reduced amended offense level of 29 vice 31 and an amended guideline range of 140
to 175 months.
       However, the mandatory minimum sentence applicable to Count 1 was at the time of
original sentencing, and is still today, Life. Based upon a Rule 35 motion filed by the
Government, the Court previously determined that a reduced 240 month sentence was
reasonable given defendant’s cooperation and the circumstances of the case. 240 months is
still the appropriate sentence on Count 1 and will remain unchanged.
       Except as provided above, all provisions of the judgment dated the 22 nd day of June
2004 shall remain in effect.
       ORDERED this 26 th day of August, 2008.



                                               s /L.A. Collier
                                                LACEY A. COLLIER
                                           Senior United States District Judge
